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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


 JOSHUA E. FRANKEL,


                   Plaintiff,
 V.                                                        Civil No. 2:18cvl07


 UNITED STATES OF AMERICA,


 £Uid


 JAVEN EVONNE DAVIS, solely in
 her capacity of an uninsured
 driver pursuant to Virginia
 Code § 38•2-2206, as amended.


                   Defendants.



                                OPINION AND ORDER


         This matter is before the Court on a motion to dismiss for

lack of subject matter jurisdiction, filed by the United States

of      America   ("United   States"    or   "the    Government"),      and   Javen

Evonne Davis ("Davis," and collectively with the United States,

"Defendants"),       pursuant     to   Federal      Rule   of   Civil   Procedure

12(b)(1).         ECF No. 6.     Plaintiff opposes dismissal, asserting

that this action was properly filed in this Court.

                     I. FACTUAL AND PROCEDURAL HISTORY


                             A. Factual Background

         On March 31, 2015, at approximately 7:37 a.m.. Plaintiff,

an employee of the United States Navy, was injured by a vehicle
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 negligently operated by Davis, who is also an employee of the

 Navy.     Compl.    SISI   17-18,    ECF No. 1.        Plaintiff    was   struck by

 Davis' vehicle while he was walking in a crosswalk within Naval

 Station    Norfolk,        a   military   base    in   Norfolk,    Virginia.       Id.

 Plaintiff asserts that he was "on his way to the gym on his own

 volition" when he was hit, and that he was "not under any orders

 associated with his employment with the Navy," was not "on an

 official Navy assignment," and "was not on duty."                   Id. SI 19.

      In    addition        to,   and/or   in    contradiction     to,   such    facts.

Defendants support their dismissal motion by providing a sworn

affidavit from Suly Diaz, Plaintiff's Navy Supervisor.^                         ECF No.

 7-1, SI 2.    Diaz asserts, under oath, that on the morning of the

accident. Plaintiff was required to report to the on-base sports

center to participate in mandatory physical training scheduled

 to begin at 7:30 a.m.               Id. SI 5.     Diaz further indicates that

such training was "the beginning of the workday" for Plaintiff.

Id.      Although Plaintiff's responsive brief denies that he was on

his way to mandatory physical training. Plaintiff provides no

affidavit     or    other       evidence   to    support   such    contrary     factual

statement made in his brief.               ECF No. 11, at 4; see Kulhawik v.




^ As discussed below in Part II of this Opinion, when ruling on a motion
challenging the accuracy of jurisdictional allegations that are not
intertwined with the merits, the Court "may consider exhibits outside the
pleadings" and "is free to weigh the evidence and satisfy itself as to the
existence of its power to hear the case." Williams v. United States, 50
F.3d 299, 304 (4th Cir. 1995) (citation omitted).
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Holder, 571 F.3d 296, 298 (2d Cir. 2009) ("An attorney's unsworn

statements in a brief are not evidence").

       In addition to the disagreement over Plaintiff's reason for

going to the on-base gym, the parties' briefs dispute the degree

to     which    Naval           Station       Norfolk         is     open     to    the    public.

Defendants      advance          two    additional sworn                affidavits    seeking      to

demonstrate that: (1) access to the base was restricted to those

with     an    employment,             familial,         or    other       connection      to     the

military,       ECF       No.    7-2;     and      (2)    the      gym     that    Plaintiff      was

walking to on the day of the accident is located on the base, is

operated       for    the       benefit       of   servicemembers,           and    may    only   be

patronized           by     military           personnel            and     other     authorized

individuals,         ECF    No.        7-3.        Plaintiff        does     not    counter     such

affidavits          with    any        evidence,         but       again     advances      unsworn

assertions referencing the vast number of "civilians" that have

daily access to the base.                 ECF No. 11, at 4.

                                  B. Procedural History

       Plaintiff          unsuccessfully           pursued         an     administrative        claim

with the Navy for his injuries resulting from the accident, and

he thereafter filed the instant action in this Court.                                     Compl. SI

15-16.         In     an    apparent          effort      to       recover    damages       through

Plaintiff's          "uninsured           motorist"           auto        insurance       coverage.
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 Plaintiff's      lawsuit    names    both   the      United    States     and   Davis    as

 defendants.2      ecf No. 1.


         Defendants    subsequently       moved        to   dismiss       this    case    on

 jurisdictional       grounds,       claiming      that;       (1) the     suit    cannot

 proceed against Davis based on this Court's ruling in a prior

 federal case filed by Plaintiff                  and (2) that the case cannot

 proceed    against     the      United   States       due     to   the    doctrine       of

 sovereign immunity.          ECF No. 7.        Defendants further argue that

 an   uninsured     motorist      claim   cannot       proceed      because      Va.   Code

 § 38.2-2206(F) requires that a Plaintiff first secure a judgment

 against    the    owner    or   operator    of       the   uninsured      vehicle,      and

 here.     Plaintiff       cannot    obtain       a     judgment      against      either

Defendant.        ECF No. 7.




2 As argued in Defendants' motion to dismiss, the United States asserts
that it is immune from suit, which is why Plaintiff seeks to recover under
his own auto insurance policy.    Plaintiff is insured through Government
Employees Insurance Company ("GEICO"), and Plaintiff served GEICO with a
copy of the complaint in this case.       GEICO thereafter filed, as an
"interested party," a memorandum adopting the arguments advanced in
Defendants' brief seeking dismissal. ECF No. 10.

^ In late 2016, Plaintiff filed a lawsuit in Norfolk Circuit Court against
Davis, and such case was removed to this Court by the United States
pursuant to a "Notice of Substitution" and "Certification" asserting that
the United States was the only proper defendant. 2:16cv674, ECF No. 1-2.
On June 26, 2017, after receiving evidence, another Judge of this Court
issued an Order concluding that Davis was acting "within the scope of her
employment" at the time of the accident and that the United States was
therefore the proper defendant.   2:16cv674, ECF No. 18, at 8.    Based on
such ruling. Plaintiff conceded that his federal case should be dismissed,
without prejudice, due to his failure to exhaust administrative remedies
available through the Department of the Navy.       Id. at 1.    Now that
Plaintiff has exhausted such remedies, he has returned to this Court.
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                             II. STANDARD OF REVIEW


        The party asserting subject matter jurisdiction bears the

 burden of proving that such jurisdiction exists.                   Adams v. Bain,

 697 F.2d 1213, 1219 (4th Cir. 1982).                 When an individual sues

 the United States for damages, he or she also bears the burden

 to   demonstrate     that    the    Government     unequivocally         waived    its

 sovereign immunity.         Williams v. United States, 50 F.3d 299, 304

 (4th Cir. 1995); see Anderson v. United States, 669 F.3d 161,

 164 (4th Cir. 2011) (''Where the United States has not waived its

 sovereign    immunity,      a     plaintiff's     claim    against       the   United

 States     should    be     dismissed      for     lack    of    subject       matter

 jurisdiction under Federal Rule of Civil Procedure 12(b)(1).").

        Subject matter jurisdiction may be challenged facially or

factually.       Adams,      697    F.2d   at     1219.     A    facial    challenge

 contends    that a "complaint simply fails                to   allege    facts    upon

 which subject matter jurisdiction can be based."                   Id.    In ruling

on such a challenge, the court assumes that all facts alleged in

the complaint are true.             Id.    In contrast, a factual challenge

to subject matter jurisdiction relies on the assertion that "the

jurisdictional       allegations      of   the    complaint      [a]re    not   true."

Id.     In ruling on a factual challenge that is not intertwined

with the merits of the underlying action, the court is "free to

weigh the evidence and satisfy itself as to the existence of its

power     to hear    the   case."      Williams,     50 F.3d at 304 (quoting
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 Mortensen v. First Fed. Sav. and Loan Ass'n, 549 F.2d 884, 891

 (3d Cir. 1977)); see U.S. ex rel. Vuyyuru v. Jadhav, 555 F.3d

 337, 348 (4th Cir. 2009) ('^Unless the jurisdictional facts are

 intertwined with the facts central to the merits of the dispute,

 the district court may . . . resolve the jurisdictional facts in

 dispute by considering evidence outside the pleadings, such as

 affidavits.").       When evaluating the jurisdictional evidence, the

 court may consider ''evidence by affidavit, depositions or live

 testimony."     Adams, 697 F.2d at 1219; see Al Shimari v. CACI

 Premier Tech., Inc.,        840   F.3d   147, 154 (4th     Cir.   2016)     ("The

 district   court     is   authorized     to   resolve   factual   disputes    in

 evaluating its subject matter jurisdiction.").

                               III. DISCUSSION


      Here, Plaintiff seeks a judgment against the United States

as the party substituted for the driver (Davis) that struck him

 with her car.        Compl. SI 2.      Alternatively, to the extent that

the Government is immune from Plaintiff's suit. Plaintiff names

Davis as a defendant in an effort to obtain a ruling by this

Court that would allow Plaintiff to proceed against GEICO under

Plaintiff's     own    uninsured     motorist     policy.    Compl.   SISI   3-4.

However, as discussed below. Plaintiff is barred from proceeding

against either party.
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                  A. Plaintiff Cannot Proceed Against Davis

       First, Plaintiff cannot maintain a claim directly against

 Davis    because       another         judge       of    this     Court,    in    dismissing

 Plaintiff's prior suit arising out of the same incident, held

 that Davis was acting within the scope of her federal employment

 at the time of         the accident.               Case No. 2:16cv674, ECF No. 18;

 cf. Compl. SI 2.         Although the dismissal of Plaintiff's earlier

action was without prejudice to Plaintiff's right to refile the

instant     case.       Plaintiff         may       not    relitigate        the       scope     of

 employment question because the doctrine of ''issue preclusion"

prevents further          litigation of             this    previously decided issue.

See Wright & Miller 18 Federal Practice & Procedure Jurisdiction

§ 4418 (3d ed.) (explaining that when "a first action is decided

on grounds that do not preclude a second action" asserting the

same     claim,    the    plaintiff        retains         the     ability    to       file    such

second    action,       but    "direct     estoppel"         precludes       "reargument        of

the    grounds     decided         in    the    first       action");        Capitol         Envtl.

Servs., Inc.       v.    N. River Ins.              Co., 778 F.          Supp.    2d    623,   633

(E.D.     Va.    2011),       aff'd,      484       F.    App'x    770    (4th     Cir.       2012)

("[E]ven     a    judgment         not    on    the       merits    will     generally         have

preclusive       effect       at   least       as    to    the     same    issue       for    which

dismissal was ordered.").

       Consequently, here, the United States must be substituted

as the proper defendant, and Davis has absolute immunity "not
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simply    from   liability,     but   from     suit."        Boggs-Wilkerson         v.

 Anderson, No. 2:10cv518, 2011 WL 6934598, at *2 (E.D. Va. Nov.

17, 2011) adopted by 2011 WL 6934596 (E.D. Va. Dec. 30, 2011)

(quoting Osborn v. Haley, 549 U.S. 225, 238 (2007)); see Maron

V. United States, 126 F.3d 317, 321-22 (4th Cir. 1997) (''[E]ven

in cases where the United States has not waived its immunity,

 the United States      must still be substituted and                 the   individual


defendant    still    remains   immune   from   suit    if      the    tort   occurred


within the scope of employment").              Because Davis is immune from

suit, an action against her cannot proceed.

       B. Plaintiff Cannot Proceed Against the United States

      Having determined that the United States is the only proper

defendant, the Court next concludes that Plaintiff's suit cannot

proceed     against   the    United   States    based      on    the    doctrine     of

sovereign immimity.         Although the United States has consented to

a waiver     of its    immunity through the Federal Tort Claims                     Act

("FTCA"),    United    States   v.    S.A.   Empresa    de      Viacao      Aerea   Rio

Grandense    (Varig    Airlines),     467    U.S.   797,   807-08       (1984),     the

Supreme Court has expressly held that the FTCA does not waive

the Government's immunity ''for injuries to servicemen where the

injuries arise out of or are in the course of activity incident

to service."     Feres v. United States 340 U.S. 135, 146 (1950).

      The   Fourth    Circuit   has   consistently      held      that      the   Feres

doctrine is not "restricted to actual military operations such


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 as field maneuvers or small arms instruction."                             Hass v. United

 States,    518    F.2d   1138,       1141   (4th       Cir.    1975).        Instead,         the

 applicability      of    the    doctrine     considers,         among      other      factors,

 "the    plaintiff's      duty    status     and    the    location         of    the    tort."

 Kessler v. United States, 514 F. Supp. 1320, 1322 (D.S.C. 1981).

 The Fourth Circuit has               thus broadly recognized that the Feres

 doctrine     encompasses         "all       injuries          suffered       by       military

 personnel    that    are    even      remotely     related       to    the      individual's

 status as a member of the military."                     Stewart v. United States,

 90 F.3d 102, 105 {4th Cir. 1996) (quotation marks and citation

 omitted);   see     Aikens      v.    Ingram,     811    F.3d       643,   651     (4th      Cir.

 2016).

        In Stewart, the Fourth Circuit held that the Feres doctrine

 barred a suit against the United States arising from an on-base

 car    accident   that     occurred      while     a    servicemember           was    driving

 back to his on-base residence to shower and prepare for his next

 military responsibility.               Id. at 104.            Even though the injury

 did not occur       on route         to a scheduled military activity,                       the

 court held that such case "lies at the heart of the Feres bar."


 Id.     Similarly,      the Fourth Circuit has                held    that an off-duty

serviceman injured while riding a military-provided horse could

not sue the United States because recreational activity benefits

 the military by boasting morale and health.                           Hass, 518 F.2d at

1141-42; see       Mariano      v.    United States,           444    F.    Supp.      316,   320
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 (E.D. Va. 1977), affd, 605 F.2d 721 (4th Cir. 1979) (rejecting

 the plaintiff's contention that ''for an injury to be incident to

 service the serviceman must have been receiving direct benefits

 from    the    military      at       the   time     of    the    injuries");      see    also

 Chambers      v.    United   States,        357     F.2d   224,    229    (8th    Cir.   1966)

 (noting that even if the plaintiff "had a furlough order in his

 pocket or might have been engaged in swimming for recreation,"

 his    claim   was    barred      by Feres         because       his "use    of   the pool,

 which was a part of the base, was related to and dependent upon

 his    military       service;         otherwise,          he    would    not     have    been

 privileged to use it").

        Here,       because    the      jurisdictional           dispute    involves      facts

 wholly    separate      from      the       facts    Plaintiff       must    establish      in

 support of his FTCA negligence claim, the jurisdictional facts

 are not "intertwined" with the merits, thus allowing this Court

 to "resolve the jurisdictional facts."                           U.S. ex rel. Vuyyuru,

 555    F.3d    at    348.^     As      noted      above.    Rule    12(b)(1)      permits   a

 defendant      to     mount       a    factual       challenge       to     jurisdictional

 allegations through the presentation of evidence, and Defendants

 ^ Alternatively, assuming, arguendo, that the facts relevant to the Feres
 dispute were "intertwined" with the merits of Plaintiff's case, the Court
 would typically not resolve such an issue without first affording the
 parties the opportunity to perform jurisdictional discovery.                        Kerns v.
 United States, 585 F.3d 187, 193 (4th Cir. 2009).    However, the instant
 record, to include Plaintiff's admissions and arguments in his brief,
 illustrates the absence of a need for discovery prior to the resolution of
 the Feres dispute because the most relevant jurisdictional facts (the
 location of the accident. Plaintiff's duty status, the reason Plaintiff
 was walking to the gym) are all within Plaintiff's own knowledge.                          See
 Rich V. United States, 811 F.3d 140, 146 (4th Cir. 2015).


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 have   done   precisely       that    in    this      case.     Plaintiff,         however,

 offers no evidence in response, instead offering only unsworn

 facts advanced in a brief in opposition.

        Accepting as true Defendant's affidavits that have not been

 refuted   through      conflicting         evidence.        Plaintiff       was   both    ''on

 duty" and on base at the time of the accident, as he was hit by

 a fellow servicemember on his way to mandatory military fitness

 training at the on-base gym.                 ECF No. 7-1, SI 5.              The general

 public was not only restricted from accessing the base, but also

 the gym, absent permission to do so.                        ECF Nos. 7-2, 7-3.              On

 such   facts,     it   cannot    reasonably           be   disputed    that       this    case

 falls squarely within the "heart of the Feres bar."                           Stewart, 90

 F.3d at 104.


        Alternatively,     the    Court finds           that even       if    it    does   not

 "resolve"     jurisdictional         facts,      but       instead    accepts      as     true

 Plaintiff's       unsubstantiated          factual         allegations.       Plaintiff's

 claims are still barred by Feres.                     Feres bars Plaintiff's claim

 for injuries sustained while traveling on base toward an on-base

 fitness     facility     to     participate           in    "recreational"         exercise

 utilizing     a   military      fitness     facility         even    if,    as    Plaintiff

 asserts, he was "not on duty" and "scores" of civilians access

 Norfolk Naval Base on a daily basis.^                       Notably, Plaintiff does


 5 Plaintiff's     assertion   that "scores       of   civilians . . . are permitted
 entry [to the base] on a routine basis," ECF No. 11, at 4, fails to
 effectively undercut Defendants' factual contention that access to the


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 not contest Defendants' assertion that Plaintiff was on "active

 duty" status with the military at the time of the incident (as

 contrasted with a "furlough status")® even assuming that he was

 "off   duty"       at   the    moment       the    accident         occurred     because     his

 workday      had    not   yet     begun.           See    Aikens,       811    F.3d     at   651

 (discussing the breadth of the Feres doctrine and noting that "a

 plaintiff need not be on duty" for it to apply).                              Plaintiff also

 fails to call into question the fact that: (1) his employment

 with   the    Navy      required       him   to     pass       a    semi-annual       "Physical

 Fitness Assessment"; or (2) that he had access to the on-base

 gym as a result of his status as a member                              of     the Navy.      As

 explained     by    the       Fourth    Circuit,         "an       active-duty       serviceman

 temporarily        in   off-duty       status       and    engaged       in     recreational

 activity on a military base, cannot sue the United States for

 the    alleged      negligence         of    another       serviceman           or    civilian

 employee of the military."               Hass, 518 F.2d at 1142; see Kessler,

 514 F. Supp. at 1322-23.                 While Plaintiff's version of events


 base is restricted from the general public because the sheer number of
 civilians that have authorization to access such a large military facility
 says nothing about whether authorization to be present is required.

 ® The Government states in its brief that Plaintiff was on "active duty"
 and cites the sworn assertion from Plaintiff's Navy supervisor that
 Plaintiff "was enployed by the U.S. Navy, held the rank of Petty Officer
 Second Class, and was . . . assigned to the [Electronic Warfare Database]
 Division."  EOF No. 7-1, SI 2.  To the extent such evidentiary statement
 does not specifically use the term "active duty," the Court notes that
 Plaintiff has never contested such fact in any filing before this Court
 despite the fact that he bears the burden of demonstrating that the
 Government unequivocally waived its sovereign immunity.     Adams, 697 at
 1219. Therefore, the weight of the evidence supports the conclusion that
 Plaintiff was on active duty status at the time of the accident.


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 presents      a     closer    question,           because       his    status      as    a      Navy-

 employee both gave him access to the on-base gym and required

 him to maintain a level of fitness, his on-base injury occurring

 while    he    was    traveling       to     a    military       exercise         facility       was

 directly connected to his military service, even if his workout

 was intended to be ''recreational."                       Hass, 518 F.2d at 1141-42;

 Stewart, 90 F.3d at 105.                   Accordingly, the Feres doctrine bars

 Plaintiff's       suit      against        the    United      States,       and    Plaintiff's

 claims       must     be     dismissed            for     lack        of    subject           matter

 jurisdiction."^

         C. Plaintiff's Uninsured Motorist Claim Cannot Proceed


        The    Court      separately         finds        that      Plaintiff's         uninsured

 motorist      claim    alleged        in    Count       Two   of      the   complaint         fails

 because an        uninsured motorist claim                under Virginia law cannot

 proceed      until    the    plaintiff           first   secures       entry      of    judgment

 against a tortfeasor.            Boggs-WiIkerson, 2011 WL 6934598, at *2-,

 Mutual Ins. Co. v. Hylton, 260 Va. 56, 61, 530 S.E.2d 421, 423

 (2000).       Pursuant to Virginia statute, even in cases involving

 immune defendants, a "plaintiff must obtain a judgment against



   To the extent Plaintiff seeks to focus the Court's analysis on precedent
 that   discusses     the    several    identified        "rationales"       behind      the    Feres
 doctrine, this Court finds that such analysis leads to the same result in
 this case, as best illustrated by the Fourth Circuit's analysis in
 Stewart, a case involving an on-base car accident.   Cf. Aikens, 811 F.3d
 at 651 ("[T]he situs of the injury is not as important as 'whether the
 suit requires the civilian court to second-guess military decisions . . .
 and whether the suit might impair essential military discipline.'"
 (quoting United States v. Shearer, 473 U.S. 52, 57 (1985))).


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 the    named    defendant"         before   the    plaintiff       is   authorized        to

 pursue relief from            his   or her    own insurer.          Boggs-WiIkerson,

 2011 WL 6934 598, at *2 (citing Va. Code § 38.2-2206(F)); see

 Erie Ins. Co. v. McKinley Chiropractic Ctr., P.O., 294 Va. 138,

 139, 803 S.E.2d 741, 742 (2017) (''An injured party possesses no

 right    to    recover    tort      damages      from    the    tortfeasor's      insurer

 until reducing to a judgment his claim against the tortfeasor")

 (citations omitted).

        In     Mutual    Insurance      v.     Hylton,      the    Supreme       Court    of

 Virginia      held     that   even    though      Virginia       Code   § 38.2-2206(F)

 gives an automobile insurer "the right to file pleadings" and

 take other legal action in its own name or in the name of the

 uninsured motorist,           the fact that the insurer has such rights

 does    not    allow     an    injured      plaintiff      to     obtain    a    judgment

 directly against the insurer in a tort proceeding.                          Hylton, 260

 Va. at 61, 530 S.E.2d at 423.                 Although Virginia's requirement

 that a plaintiff first obtain a judgment against the tortfeasor

 leads to an obvious remedy gap if the tortfeasor is immune from

 suit,    Virginia       statute      endeavors      to    eliminate     such      gap    by

 creating a statutory process allowing an injured party to obtain

 a   judgment     against      an    otherwise     immune       defendant.       Va.     Code

 § 38.2-2206(3),        (F).        However,   while      the    Virginia    legislature

 has    the power to modify the immunity enjoyed by state actors

 that are named in a lawsuit in order to eliminate such remedy


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 "gap," the Supremacy Clause of the United States Constitution

 prevents such state legislative body from modifying the scope of

 the   federal   Government's          sovereign        immunity,     to    include    the

 United States' immunity from suit.                 See Boggs-Wilkerson, 2011 WL

 6934598, at *5-*7 (analyzing the Virginia statute, in detail, as

 well as its interplay with the Supremacy Clause of the United

 States Constitution); see also Johnson v. Puckett, 80 Va. Cir.

 310, 313 (2010) (finding that the City of Roanoke, Virginia,

 although immune, "should remain a party in this action for the

 sole purpose of [the plaintiff] obtaining a judgment that can be

 enforced against the insurers).

       Here, because the United States properly substituted itself

 for   Davis,       federal      law       precludes      Plaintiff's        suit     from

 proceeding     against    Davis,      either      directly,     or    as    a   "nominal

 defendant."        Id.       Similarly,          the   Feres   doctrine         precludes

 Plaintiff's     suit     from   proceeding         against     the    United     States,

 either directly, or as a "nominal defendant."                        Id. at *7; see

 also United States v. Bormes, 568 U.S. 6, 9 (2012)).                              Because

 Plaintiff    has    not    named      a    valid       defendant     against     whom   a

 judgment may be entered.              Plaintiff's uninsured motorist claim

 cannot proceed.®



 ® The Court has fully considered the discussion in Boggs-Wilkerson
 regarding the apparent ambiguity in the interplay between subsections (B)
 and (F) of Va. Code § 38.2-2206 and agrees with the resolution of such
 ambiguity in Boggs-Wilkerson in light of Johnson, Hylton and other
 longstanding Virginia precedent establishing that entry of judgment

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        Having made such finding,               this    Court notes its            agreement

 with    the    observation     in    Boggs-Wilkerson         that       such    result ''may

 seem    inequitable."        Boggs-WiIkerson,             2011    WL    6934598,     at    *5.

 However, unless and until the Virginia legislature modifies the

 statutory      procedure     set     forth    in    Va.    Code     §    38.2-2206(F)       to

 allow a Plaintiff to proceed directly against an insurer in the

 circumstances now before this Court, such "perceived unfairness"

 cannot be avoided.           Id.          Stated    differently,         this    Court both

 lacks the authority to rewrite a Virginia statute and lacks the

 authority to elevate a sound equitable argument over the United

 States'       authorized   invocation         of    its    sovereign       immunity       from

 suit.


                                     IV. CONCLUSION


        For     the   reasons        set    forth      herein,      the     Court     GRANTS

 Defendants' motion to dismiss the complaint for lack of subject

 matter jurisdiction.         ECF No. 6.            The Clerk is REQUESTED to send

 a copy of this Opinion and Order to all counsel of record.

        IT IS SO ORDERED.




                                                                     /s/
                                                             Mark S. Davis
                                             CHIEF UNITED STATES DISTRICT JUDGE
 Norfolk, Virginia
 January 7 / 2019


 against a tortfeasor is a necessary prerequisite to securing a judgment
 against an insurer.


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